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AO 91 (Rev 8/01) Criminal Complaint !

United States District Court
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SOUTHERN ' DISTRICT OF TEXAS
MCALLEN DIVISION

 

United States District Court

UNITED STATES OF AMERICA . Southern District of Texas
V. . CRIMINAL COMPLAINT
Ariana Sepulveda 7 JUN 0 3 2020

a.k.a. Ariana Rodriguez

David J. Bradley, Clerk“8° Number: M-20-| {16 -M

usc YOB: 1994 SEALED

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

knowledge and belief. On or about February 11, 2020 in Hidalgo County, in

 

the Southern District of Texas the defendant(s)
(Track Statutory Language of Offense)

 

under oath, in a proceeding before a court of the United States knowingly made false material declarations;

 

in violation of Title 18 United States Code, Section(s) 1623 (a)
I further state that I am a(n) Special Agent and that this complaint is based on the
following facts:
See attached affidavit.
Continued on the attached sheet and made a part of this complaint: [x | Yes [ ] No

  
 
 

Approved by: AUSA Patricia Cook Profit

James H. Hicks.

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Signature of Complainant

es H. Hi i \ ecial Agent

 

  
  

Juan F. Alanis ,_ U.S. Magistrate Judge
Name and Title of Judicial Officer

 

v
Signature-of Judicial Officer
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On or about Tuesday, February 11, 2020, in the United States District Court for the Southern
District of Texas — McAllen Division, ARIANA SEPULVEDA (SEPULVEDA), while under oath as a witness in
a case pending trial before the United States District Court for the said District, specifically United States
v. Daniel Sepulveda, No. M-20-0240, knowingly did make a false material declaration; that is to say:

At the time and place aforesaid, the Court was engaged in a detention hearing of the
aforementioned case wherein defendant, Daniel Sepulveda, was charged with conspiracy to possess
with intent to distribute more than 5 kilograms of cocaine and possession with intent;to distribute
approximately 320 kilograms of a cocaine. It was a matter material to said hearing to determine
whether or not Daniel Sepulveda was a flight risk and material to SEPULVEDA’s reliability as a third party
custodian.

At the time and place alleged, ARIANA SEPULVEDA, while under oath did knowingly declare
before said Court with respect to the aforesaid material matter as follows:

“Q: Isn’t it true that you are aware of your husband’s involvement in this incident in January of 2019;
isn’t that true?”

A: No.
Q: Mrs. Sepulveda, you are aware that the Government seized your phone, correct?

A: Yes

 

Q: And are you aware of the fact that in reviewing the contents of the calls on that phone that it shows

that you were instructed by your husband to delete all your messages in your phone; are you aware of
that?

A: No

Q: Are you aware of the fact that you’re testifying under oath and that you’re sworn to tell the truth;
isn’t that correct?

A: Yes.
Q: Are you aware of the fact that your husband fled to Reynosa after that incident in January of 2019?
A: No.

Q: So you did not have a conversation with your husband where you discussed the fact that he was in
Reynosa and he suggested that you come over to Reynosa?

 

A: No.

Q: So there was no such conversation?
A: No.
Q: There was no text messages?

A: No.

Q: There’s no text messages that would prove that you’re lying now before the Court?

 
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A: No.”

The aforesaid underscored testimony of ARIANA SEPULVEDA, as she then and there well knew
and believed was false in that, on or about January 17, 2019, and January 18, 2019, ARIANA SEPULVEDA

did engage in text conversations with Daniel Sepulveda that are noted in part as follows:
|

(Note: Most of the messages were in Spanish. Those that were in Spanish have been translated
to English. Daniel Sepulveda (D); ARIANA SEPULVEDA (A).)

[Instructions and attempts to erase texts]

A: They can’t get the location of the phone because you turned it off. They are asking if you want
everything erased from both.

D: Just to track the other one. ~
A: How?

A: Both that are coming up in your iCloud are off. They can’t track them because you turned off the find
my iPhone. | don’t know why you did that.

: How is that? | have them on.

: No you don’t. They are off.

: I'll call you in a bit love. As soon as | eat.
: Ineed to know now.

: Erase both of them? | , 4
: Or not?

: Lhave one of them.

: If you want do both of them.

: It was the phone | had before.
: The first one.

: You confused me, Danni.

: Erase both.

: Were you able to erase them?

: Ok.

 

D

A

D

A

A

A

D

D .

A: Which is the one you have with you to erase only the other one?
D

D

A

D

D

A

D: lam asking you. ,
A

: | just sent it.

 

 

 
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[Concerning flight from law enforcement, plans to re-enter the US, and the possibility of ARIANA
SEPULVEDA traveling to Mexico]

A

: Well fuck, thank God nothing worse happened.

D: Yes | know, love. And they even pointed a pistol at me, but | turned and went the other way.

A

D

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A

: Who pointed at you and why?

: Well Immigration.

: So | would stop.

: Oh, so you would stop.
: Yes. Like | was going to listen.

: Fuck

: Tomorrow when | go over there | will tell you about it.

: Are you going to be able to come over here?

: Well yes.
: If | cannot go will you come over here?
: For a little while or what?

: To sleep.

Or you do not want to?

: Where are we going to sleep over there? It’s scary.

: Lam going to try and leave tomorrow love. | am going to keep trying.
: Limagine it is going to be ugly and | do not want you to risk it.

: Well in a hotel. (

: No hotel it is scary over there.

: Love, over here they will not bother us.

: No way, you never know over there.

: lam telling you, right now there are people taking care of us.

: No. Even less.

: You would not do it for me, love? Stay here. -

: Love yes, but | am scared. | do not think you will be over there that long.

: That is what | am going to see tomorrow. | am not going through the bridge.

 

 

 

 
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do not represent the conversation in its entirety. |

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[Continued conversation about re-entry into the US]
D: | woke up, love. Going to see how it is.

A: Ok.

D: We are just waiting for the fog to clear.

A: Be very careful and erase all of the messages off the phone.
D: | know love. if | see that | cannot | will come back.

[Daniel Sepulveda and ARIANA SEPULVEDA continue to discuss erasing telephone content]
D: Did she erase everything from my telegram?

D: Telephone.

A: We cannot because we disconnected the line. She says that it will only work with wifi and if it works it
will erase everything, but she said that there is no way because you had a password on it.

D: | did not have a password on that telephone to track it.

A: What do you mean you did not? Did you not?

D: No. Just in this one.

A: Fuck, then you should have blocked it first. |
[Daniel Sepulveda’s successful re-entry into the US from Mexico]
D: | will text you right now. Soldiers are here.

A: Be careful, my love.

D: lam about to cross to get that.

A: Motherfucker, but you never listen when | tell you.

D: lam already here. |

A: Where are you? |
D: | am at their ranch. Came to talk to them.” |

The telephone numbers participating in the conversation were 3aqQagB-5258 (telephone 1-
utilized by Danie! Sepulveda) and QMMF2353 (telephone 2 — utilized by ARIANA SEPULVEDA). Daniel
Sepulveda was identified in a photograph that was sent from telephone 1 to telephone 2 during the
conversation. ARIANA SEPULVEDA was identified in a photograph sent from telephone 2 to telephone 1
during the conversation in response to a request for a photograph. The aforementioned text messages

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Allin violation of 18 U.S.C. Sec. 1623.
